                                 19-23649-shl Doc 1207-1     Filed 06/01/20 Entered 06/01/20 17:42:35
                                                        OCP Payment Report - Three Month Fee Average
                                                                                                                                                                             Ordinary
In re: PURDUE PHARMA L.P., et al.                                                                                                                                                                  Case No.: 19-23649 (RDD)
                                             Course Professional Tracking      Status April 2020 Pg 1 of 6
                                                                        April 2020


                       Name                                         Tier      Rolling Cap    Case Cap     Case Total     Sep-19   Oct-19   Nov-19     Dec-19    Jan-20    Feb-20    Mar-20    Apr-20

                       OCP Tier 1 Total                         OCP Tier 1             N/A          N/A    3,254,782      N/A      N/A     406,234   473,859   399,330   442,843   380,268   335,442
                       OCP Tier 2 Total                         OCP Tier 2             N/A   12,000,000    1,730,285      N/A      N/A     233,367   258,314   242,078   244,562   242,421   176,541
                       OCP Tier 3 Total                         OCP Tier 3       7,560,000          N/A       98,404      N/A      N/A      10,942    17,080    23,259    15,941    13,158     9,542
                       OCP Total                                Total                        25,000,000    5,083,471

                       Abe Ikubo & Katayama                      OCP Tier 2        75,000       900,000
                       Angeli Ungar Law Group LLC                OCP Tier 3        10,000       120,000
                       Bassford Remele                           OCP Tier 3         5,000        60,000          787                          133        262       262      130
                       Bernstein, Shur, Sawyer & Nelson          OCP Tier 3         5,000        60,000        3,003                          584      1,001     1,001      417
                       Brinks Gilson & Lione                     OCP Tier 2        75,000       900,000
                       Brownstein Hyatt Farber Schreck           OCP Tier 2        75,000       900,000      175,000                        16,667    25,000    25,000    25,000    25,000    25,000
                       Brunini Grantham Grower Hewes, PLLC OCP Tier 3               5,000        60,000        7,548                           707       857       966       843     1,210     1,550
                       Camacho Calvo Law Group                   OCP Tier 3         5,000        60,000
                       Cetrulo LLP                               OCP Tier 3        20,000       240,000       11,993                          721      1,287     3,998     3,277     2,711
                       Cipriani & Werner PC                      OCP Tier 3        10,000       120,000          578                          193        193       193
                       Cole Scott & Kissane                      OCP Tier 3        10,000       120,000        3,990                          258        558     1,053      925       772       277
                       Conyers Dill & Pearman Limited            OCP Tier 3         5,000        60,000
                       Crowe & Dunlevy                           OCP Tier 3        20,000       240,000        1,518                                     331       389       477       175       117
                       Dannemann Siemsen Advogados               OCP Tier 2        75,000       900,000       30,910                         1,773     6,424     8,250     8,390     3,879     1,917
                       Dannemann Siemsen Bigler & Ipanema MOCP Tier 2              75,000       900,000
                       Davidson, Davidson & Kappel, LLC          OCP Tier 2        75,000       900,000       34,699                         1,090     3,068     5,503     8,898     8,235     5,422
                       Davis, Hatley, Haffeman & Tighe, P.C.     OCP Tier 3         5,000        60,000
                       DeHay & Elliston LLP                      OCP Tier 3         5,000        60,000
                       Dentons US LLP                            OCP Tier 2        75,000       900,000      300,000                        33,333    50,000    50,000    50,000    50,000    33,333
                       Dinse, Knapp & McAndrew                   OCP Tier 3         5,000        60,000          409                            80        80       106        56        56        31
                       DLA Piper LLP                             OCP Tier 3        30,000       360,000       18,272                         3,336     5,327     5,327     2,262       764       764
                       Dorsey & Whitney LLP                      OCP Tier 2        75,000       900,000       27,410                         1,189     2,068     3,511     4,835     7,069     4,886
                       Duke Scanlan                              OCP Tier 3        20,000       240,000        2,620                           422       740       848       426       133        26
                       Durbin, Larimore & Bialick, PC            OCP Tier 2        75,000       900,000
                       Essex Court Chambers (John Lockey)        OCP Tier 2        75,000       900,000        2,474                          369                 456       456       456
                       Evans Fears & Schuttert LLP               OCP Tier 3        10,000       120,000        5,808                                    364       546       802       931      1,390
                       Fox, O'Neill & Shannon S.C.               OCP Tier 3         5,000        60,000
                       Frazer Greene Upchurch & Baker, LLC       OCP Tier 3        10,000       120,000        6,171                           36        36       442       945      1,596     1,615
                       Frost Brown Todd LLC                      OCP Tier 3         5,000        60,000
                       German, Gallagher & Murtagh, P.C.         OCP Tier 3         5,000        60,000
                       Gibson Dunn & Crutcher LLP                OCP Tier 2        75,000       900,000
                       Gordon Arata Montgomery Barnett           OCP Tier 3        10,000       120,000        1,688                          505       505       505                  58        58
                       Gunderson, Palmer, Nelson, Ashmore LLPOCP Tier 3             5,000        60,000
                       Hepler Broom LLC                          OCP Tier 3         5,000        60,000        1,956                          625       625       625        27        27        27
                       Hinckley, Allen & Snyder LLP              OCP Tier 2        75,000       900,000
                       Hirst Applegate, LLP                      OCP Tier 3         5,000        60,000
                       Holland & Hart                            OCP Tier 3        10,000       120,000
                       Hood Law Firm                             OCP Tier 3         5,000        60,000
                       Husch Blackwell LLP                       OCP Tier 2        75,000       900,000
                       Jackson Lewis P.C.                        OCP Tier 2        75,000       900,000
                       Karr Tuttle Campbell                      OCP Tier 3        40,000       480,000
                       Kleinfeld Kaplan and Becker LLP           OCP Tier 2        75,000       900,000      255,599                        30,969    29,636    31,059    39,684    40,381    28,331
                       Larson & O'Brien                          OCP Tier 3         5,000        60,000
                       Leason Ellis LLP                          OCP Tier 2        75,000       900,000       21,060                         2,121     1,199     4,899     4,899     4,899
                       Lewis Johs Avallone Aviles, LLP           OCP Tier 3         5,000        60,000
                       London Court of International Arbitration OCP Tier 2        75,000       900,000
                       Lowenstein Sandler LLP                    OCP Tier 2        75,000       900,000      221,990                        32,119    40,015    38,829    29,501    32,463    20,221
                       Lynch & Pine                              OCP Tier 2        75,000       900,000        2,650                                               883       883       883
                       Lynn Pinker Cox & Hurst, LLP              OCP Tier 1       150,000     1,800,000
                       Maiwald                                   OCP Tier 1       150,000     1,800,000      180,808                        19,667    30,010    33,234    39,607    26,691    16,465
                       McCarter & English                        OCP Tier 2        75,000       900,000          152                                                                    51        51
                       McCorriston Miller Mukai Mackinnon LLP OCP Tier 3            5,000        60,000
                       McDonald Veon P.A.                        OCP Tier 3        10,000       120,000
                       McGuire Woods, LLP                        OCP Tier 1       150,000     1,800,000    1,176,000                        98,000   147,000   147,000   147,000   147,000   147,000
                       Meltzer, Purtill & Stelle, LLC            OCP Tier 2        75,000       900,000
                       Mitchell, Williams, Selig, Gates & WoodyaOCP Tier 3          5,000        60,000
                       Montgomery & Andrews, PA                  OCP Tier 3         5,000        60,000
                       Morris Nichols Arsht and Tunnell LLP      OCP Tier 2        75,000       900,000       26,582                         4,523     4,031     3,672     3,065     2,441     2,390
                       Morrison & Foerster LLP                   OCP Tier 3         5,000        60,000
                       Mourant Ozannes                           OCP Tier 2        75,000       900,000
                       Neal & Harwell                            OCP Tier 3        10,000       120,000       10,862                          512      1,284     1,580     1,462     1,288     2,040
                       Nelson Mullins Riley & Scarborough LLP OCP Tier 3           10,000       120,000
                       Nixon Peabody                             OCP Tier 3         5,000        60,000
                       Nyemaster Goode                           OCP Tier 3        10,000       120,000        3,547                          862       901       901       320       282       282
                       Oliverio & Marcaccio LLP                  OCP Tier 3        10,000       120,000        1,668                          107       345       556       450       211
                       O'Melveny & Myers LLP                     OCP Tier 3         5,000        60,000
                       O'Neill & Borges                          OCP Tier 2        75,000       900,000




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                                                       OCP Payment Report - Three Month Fee Average
                                                                                                                                                                                       Ordinary
In re: PURDUE PHARMA L.P., et al.                                                                                                                                                                             Case No.: 19-23649 (RDD)
                                            Course Professional Tracking      Status April 2020 Pg 2 of 6
                                                                       April 2020


                       Name                                       Tier     Rolling Cap       Case Cap        Case Total      Sep-19     Oct-19    Nov-19     Dec-19     Jan-20     Feb-20     Mar-20     Apr-20

                       Patrick J. Rogers LLC                  OCP Tier 2         75,000         900,000           29,888                            3,670      4,299      3,776     3,776      3,776      3,776
                       Penn Stuart & Eskridge                 OCP Tier 3         10,000         120,000            1,030                              104        146        198        94        198        146
                       Porzio Bromberg & Newman P.C           OCP Tier 2         75,000         900,000
                       Poyner Spruill LLP                     OCP Tier 2         75,000         900,000          16,999                            5,271      2,315        396        396        396
                       Pryor Cashman LLP                      OCP Tier 2         75,000         900,000          97,409                           15,430     15,605     12,219     17,040     13,303      8,343
                       Reed Smith, LLP                        OCP Tier 1        150,000       1,800,000         413,144                           62,273     44,156     53,833     49,311     50,520     33,491
                       Reichard & Escalera LLC                OCP Tier 3          5,000          60,000
                       Reilly, McDevitt & Henrich, P.C.       OCP Tier 3          5,000          60,000            1,289                              353       353        353                    77        77
                       Reminger Co., L.P.A.                   OCP Tier 2         75,000         900,000
                       Richmond & Quinn                       OCP Tier 3          5,000          60,000
                       Robinson Gray Stepp & Laffitte, LLC    OCP Tier 3          5,000          60,000
                       Sanders Warren Russell & Scheer LLP    OCP Tier 3          5,000          60,000              275                               92         92         92
                       Semmes Bowen & Semmes                  OCP Tier 3         40,000         480,000            4,552                            1,312      1,495      1,517       205          23
                       Shaw Keller LLP                        OCP Tier 3          5,000          60,000
                       Sidley Austin, LLP                     OCP Tier 1        150,000       1,800,000         357,494                           28,351     77,574     66,193     85,924     39,453     39,453
                       Skarzynski Black                       OCP Tier 2         75,000         900,000         349,483                           68,057     54,020     35,471     30,314     27,148     26,426
                       Smith Anderson                         OCP Tier 2         75,000         900,000          24,000                            2,667      4,000      4,000      4,000      4,000      2,667
                       Snell & Wilmer                         OCP Tier 3          5,000          60,000           6,891                                                  1,504      2,226      2,297        793
                       Steptoe & Johnson, LLP                 OCP Tier 2         75,000         900,000
                       Sterne Kessler Goldstein Fox PLLC      OCP Tier 2         75,000         900,000          83,981                           10,786     12,635     10,155      9,426     14,042      9,779
                       Stikeman Elliott, LLP                  OCP Tier 1        150,000       1,800,000         672,479                          162,192    133,210     46,122     61,967     40,564     21,763
                       Stites & Harbison, PLLC                OCP Tier 2         75,000         900,000
                       Taylor English Duma LLP                OCP Tier 3          5,000          60,000              154                                                                          51        51
                       Thompson Coburn, LLP                   OCP Tier 3          5,000          60,000
                       Thompson Hine                          OCP Tier 2         75,000         900,000
                       Tonkon Torp LLP                        OCP Tier 2         75,000         900,000           30,000                            3,333      4,000      4,000     4,000      4,000      4,000
                       Troutman Sanders LLP                   OCP Tier 2         75,000         900,000
                       Vogel Law Firm, Ltd.                   OCP Tier 3          5,000          60,000
                       Vorys Sater Seymour & Pease            OCP Tier 3         10,000         120,000
                       Wheeler Trigg O'Donnell LLP            OCP Tier 3          5,000          60,000           1,794                                         299        299        598        299        299
                       Wiggin and Dana, LLP                   OCP Tier 1        150,000       1,800,000         454,858                           35,751     41,908     52,948     59,033     76,042     77,271

                       Note: The three month average for Stikeman Elliot, LLP exceeded the $150,000 cap by about $13,000 in November of 2019. The Debtors withheld about $39,000 in payments to offset
                       the overage and Stikeman has presented a fee application for its billing during this time period




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                                                           OCP Payment Report - Monthly Fees (as incurred)
                                                                                                                                                                                  Ordinary
In re: PURDUE PHARMA L.P., et al.                                                                                                                                                                          Case No.: 19-23649 (RDD)
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                                                                            April 2020


                        Name                                       Tier       Rolling Cap   Case Cap     Case Total        Sep-19    Oct-19    Nov-19    Dec-19    Jan-20    Feb-20    Mar-20    Apr-20

                        OCP Tier 1 Total                        OCP Tier 1            N/A          N/A    3,254,782        268,416   635,051   315,236   471,290   411,463   445,774   283,567   276,984
                        OCP Tier 2 Total                        OCP Tier 2            N/A   12,000,000    1,730,285        169,181   305,247   225,672   244,023   256,540   233,123   237,599    58,900
                        OCP Tier 3 Total                        OCP Tier 3      7,560,000          N/A       98,404                             32,826    18,414    18,538    10,871    10,066     7,689
                        OCP Total                               Total                       25,000,000    5,083,471

                        Abe Ikubo & Katayama                     OCP Tier 2        75,000      900,000
                        Angeli Ungar Law Group LLC               OCP Tier 3        10,000      120,000
                        Bassford Remele                          OCP Tier 3         5,000       60,000          787                                398       389
                        Bernstein, Shur, Sawyer & Nelson         OCP Tier 3         5,000       60,000        3,003                              1,753     1,250
                        Brinks Gilson & Lione                    OCP Tier 2        75,000      900,000
                        Brownstein Hyatt Farber Schreck          OCP Tier 2        75,000      900,000      175,000                   25,000    25,000    25,000    25,000    25,000    25,000    25,000
                        Brunini Grantham Grower Hewes, PLLC OCP Tier 3              5,000       60,000        7,548                              2,122       449       326     1,754     1,550     1,346
                        Camacho Calvo Law Group                  OCP Tier 3         5,000       60,000
                        Cetrulo LLP                              OCP Tier 3        20,000      240,000       11,993                              2,164     1,698     8,132
                        Cipriani & Werner PC                     OCP Tier 3        10,000      120,000          578                                578
                        Cole Scott & Kissane                     OCP Tier 3        10,000      120,000        3,990                                775      898      1,485      392       441
                        Conyers Dill & Pearman Limited           OCP Tier 3         5,000       60,000
                        Crowe & Dunlevy                          OCP Tier 3        20,000      240,000        1,518                                          992       175       263       88
                        Dannemann Siemsen Advogados              OCP Tier 2        75,000      900,000       30,910                     409      4,910    13,952     5,887     5,330      421
                        Dannemann Siemsen Bigler & Ipanema OCP Tier 2              75,000      900,000
                        Davidson, Davidson & Kappel, LLC         OCP Tier 2        75,000      900,000       34,699            790     1,135     1,347     6,722     8,440    11,533     4,732
                        Davis, Hatley, Haffeman & Tighe, P.C. OCP Tier 3            5,000       60,000
                        DeHay & Elliston LLP                     OCP Tier 3         5,000       60,000
                        Dentons US LLP                           OCP Tier 2        75,000      900,000      300,000                   50,000    50,000    50,000    50,000    50,000    50,000
                        Dinse, Knapp & McAndrew                  OCP Tier 3         5,000       60,000          409                                240                  77        92
                        DLA Piper LLP                            OCP Tier 3        30,000      360,000       18,272                             10,009     5,971                 816     1,476
                        Dorsey & Whitney LLP                     OCP Tier 2        75,000      900,000       27,410                    2,218     1,350     2,636     6,547     5,323     9,336
                        Duke Scanlan                             OCP Tier 3        20,000      240,000        2,620                              1,265       956       323                  77
                        Durbin, Larimore & Bialick, PC           OCP Tier 2        75,000      900,000
                        Essex Court Chambers (John Lockey)       OCP Tier 2        75,000      900,000        2,474          1,106                                   1,368
                        Evans Fears & Schuttert LLP              OCP Tier 3        10,000      120,000        5,808                                        1,093       546      768      1,478     1,922
                        Fox, O'Neill & Shannon S.C.              OCP Tier 3         5,000       60,000
                        Frazer Greene Upchurch & Baker, LLC OCP Tier 3             10,000      120,000        6,171                               108                1,220     1,616     1,953     1,275
                        Frost Brown Todd LLC                     OCP Tier 3         5,000       60,000
                        German, Gallagher & Murtagh, P.C.        OCP Tier 3         5,000       60,000
                        Gibson Dunn & Crutcher LLP               OCP Tier 2        75,000      900,000
                        Gordon Arata Montgomery Barnett          OCP Tier 3        10,000      120,000        1,688                              1,515                                    173
                        Gunderson, Palmer, Nelson, Ashmore LLOCP Tier 3             5,000       60,000
                        Hepler Broom LLC                         OCP Tier 3         5,000       60,000        1,956                              1,875                           82
                        Hinckley, Allen & Snyder LLP             OCP Tier 2        75,000      900,000
                        Hirst Applegate, LLP                     OCP Tier 3         5,000       60,000
                        Holland & Hart                           OCP Tier 3        10,000      120,000
                        Hood Law Firm                            OCP Tier 3         5,000       60,000
                        Husch Blackwell LLP                      OCP Tier 2        75,000      900,000
                        Jackson Lewis P.C.                       OCP Tier 2        75,000      900,000
                        Karr Tuttle Campbell                     OCP Tier 3        40,000      480,000
                        Kleinfeld Kaplan and Becker LLP          OCP Tier 2        75,000      900,000      255,599         45,546    31,883    15,478    41,548    36,152    41,353    43,640
                        Larson & O'Brien                         OCP Tier 3         5,000       60,000
                        Leason Ellis LLP                         OCP Tier 2        75,000      900,000       21,060          2,766     3,598                        14,696
                        Lewis Johs Avallone Aviles, LLP          OCP Tier 3         5,000       60,000
                        London Court of International ArbitrationOCP Tier 2        75,000      900,000
                        Lowenstein Sandler LLP                   OCP Tier 2        75,000      900,000      221,990          4,557    40,285    51,516    28,244    36,725    23,533    37,130
                        Lynch & Pine                             OCP Tier 2        75,000      900,000        2,650                                                  2,650
                        Lynn Pinker Cox & Hurst, LLP             OCP Tier 1       150,000    1,800,000
                        Maiwald                                  OCP Tier 1       150,000    1,800,000      180,808         10,704    21,005    27,293    41,733    30,677    46,411     2,985
                        McCarter & English                       OCP Tier 2        75,000      900,000          152                                                                        152
                        McCorriston Miller Mukai Mackinnon LLP OCP Tier 3           5,000       60,000
                        McDonald Veon P.A.                       OCP Tier 3        10,000      120,000
                        McGuire Woods, LLP                       OCP Tier 1       150,000    1,800,000    1,176,000                  147,000   147,000   147,000   147,000   147,000   147,000   147,000
                        Meltzer, Purtill & Stelle, LLC           OCP Tier 2        75,000      900,000
                        Mitchell, Williams, Selig, Gates & WoodyOCP Tier 3          5,000       60,000
                        Montgomery & Andrews, PA                 OCP Tier 3         5,000       60,000
                        Morris Nichols Arsht and Tunnell LLP     OCP Tier 2        75,000      900,000       26,582          7,167     1,231     5,171     5,692      153      3,351     3,819
                        Morrison & Foerster LLP                  OCP Tier 3         5,000       60,000
                        Mourant Ozannes                          OCP Tier 2        75,000      900,000
                        Neal & Harwell                           OCP Tier 3        10,000      120,000       10,862                              1,536     2,318      887      1,179     1,797     3,145
                        Nelson Mullins Riley & Scarborough LLP OCP Tier 3          10,000      120,000
                        Nixon Peabody                            OCP Tier 3         5,000       60,000
                        Nyemaster Goode                          OCP Tier 3        10,000      120,000        3,547                              2,587      115                 845
                        Oliverio & Marcaccio LLP                 OCP Tier 3        10,000      120,000        1,668                                320      717       632
                        O'Melveny & Myers LLP                    OCP Tier 3         5,000       60,000
                        O'Neill & Borges                         OCP Tier 2        75,000      900,000
                        Patrick J. Rogers LLC                    OCP Tier 2        75,000      900,000       29,888          1,888     5,347     3,776     3,776     3,776     3,776     3,776     3,776
                        Penn Stuart & Eskridge                   OCP Tier 3        10,000      120,000        1,030                                312       125       156                 437
                        Porzio Bromberg & Newman P.C             OCP Tier 2        75,000      900,000
                        Poyner Spruill LLP                       OCP Tier 2        75,000      900,000       16,999          8,868     6,944                         1,187
                        Pryor Cashman LLP                        OCP Tier 2        75,000      900,000       97,409         10,685    25,038    10,566    11,210    14,882    25,028
                        Reed Smith, LLP                          OCP Tier 1       150,000    1,800,000      413,144         74,685    76,488    35,645    20,335   105,519    22,078    23,962    54,431




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                                                          OCP Payment Report - Monthly Fees (as incurred)
                                                                                                                                                                            Ordinary
In re: PURDUE PHARMA L.P., et al.                                                                                                                                                                  Case No.: 19-23649 (RDD)
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                                                                           April 2020


                        Name                                     Tier      Rolling Cap   Case Cap    Case Total        Sep-19    Oct-19    Nov-19   Dec-19    Jan-20   Feb-20    Mar-20   Apr-20

                        Reichard & Escalera LLC               OCP Tier 3         5,000      60,000
                        Reilly, McDevitt & Henrich, P.C.      OCP Tier 3         5,000      60,000        1,289                             1,059                                   230
                        Reminger Co., L.P.A.                  OCP Tier 2        75,000     900,000
                        Richmond & Quinn                      OCP Tier 3         5,000      60,000
                        Robinson Gray Stepp & Laffitte, LLC   OCP Tier 3         5,000      60,000
                        Sanders Warren Russell & Scheer LLP   OCP Tier 3         5,000      60,000          275                               275
                        Semmes Bowen & Semmes                 OCP Tier 3        40,000     480,000        4,552                             3,937      546        69
                        Shaw Keller LLP                       OCP Tier 3         5,000      60,000
                        Sidley Austin, LLP                    OCP Tier 1       150,000   1,800,000      357,494          6,414    34,145   44,493   154,084            103,689   14,669
                        Skarzynski Black                      OCP Tier 2        75,000     900,000      349,483         79,858    83,933   40,380    37,746   28,288    24,907   28,248   26,124
                        Smith Anderson                        OCP Tier 2        75,000     900,000       24,000                    4,000    4,000     4,000    4,000     4,000    4,000
                        Snell & Wilmer                        OCP Tier 3         5,000      60,000        6,891                                                4,511     2,167      213
                        Steptoe & Johnson, LLP                OCP Tier 2        75,000     900,000
                        Sterne Kessler Goldstein Fox PLLC     OCP Tier 2        75,000     900,000       83,981          3,951    20,228    8,179     9,498   12,789     5,990   23,347
                        Stikeman Elliott, LLP                 OCP Tier 1       150,000   1,800,000      672,479        151,158   317,666   17,752    64,211   56,402    65,289
                        Stites & Harbison, PLLC               OCP Tier 2        75,000     900,000
                        Taylor English Duma LLP               OCP Tier 3         5,000      60,000          154                                                                     154
                        Thompson Coburn, LLP                  OCP Tier 3         5,000      60,000
                        Thompson Hine                         OCP Tier 2        75,000     900,000
                        Tonkon Torp LLP                       OCP Tier 2        75,000     900,000       30,000          2,000     4,000    4,000     4,000    4,000     4,000    4,000    4,000
                        Troutman Sanders LLP                  OCP Tier 2        75,000     900,000
                        Vogel Law Firm, Ltd.                  OCP Tier 3         5,000      60,000
                        Vorys Sater Seymour & Pease           OCP Tier 3        10,000     120,000
                        Wheeler Trigg O'Donnell LLP           OCP Tier 3         5,000      60,000        1,794                                         897                897
                        Wiggin and Dana, LLP                  OCP Tier 1       150,000   1,800,000      454,858         25,455    38,748   43,052    43,926   71,866    61,308   94,951   75,553




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In re: PURDUE PHARMA L.P., et al.                OCP Payment Report - Monthly Expenses Incurred                                                              Case No.: 19-23649 (RDD)
                                         Course Professional Tracking    Status April 2020 Pg 5 of 6
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                   Name                                        Tier      Case Total   Sep-19      Oct-19     Nov-19   Dec-19   Jan-20   Feb-20    Mar-20    Apr-20

                   OCP Tier 1 Total                        OCP Tier 1       381,067   31,504      31,454     78,421   29,633   60,583   23,454    48,121    77,896
                   OCP Tier 2 Total                        OCP Tier 2       219,399   13,674      21,382     55,101   60,173   22,626    8,304    24,830    13,309
                   OCP Tier 3 Total                        OCP Tier 3         1,277                             625      616        4        5                  27
                   OCP Total                               Total            601,744

                   Abe Ikubo & Katayama                     OCP Tier 2
                   Angeli Ungar Law Group LLC               OCP Tier 3
                   Bassford Remele                          OCP Tier 3
                   Bernstein, Shur, Sawyer & Nelson         OCP Tier 3
                   Brinks Gilson & Lione                    OCP Tier 2
                   Brownstein Hyatt Farber Schreck          OCP Tier 2
                   Brunini Grantham Grower Hewes, PLLC OCP Tier 3                42                                       42
                   Camacho Calvo Law Group                  OCP Tier 3
                   Cetrulo LLP                              OCP Tier 3            3                                                 3
                   Cipriani & Werner PC                     OCP Tier 3          350                             350
                   Cole Scott & Kissane                     OCP Tier 3
                   Conyers Dill & Pearman Limited           OCP Tier 3
                   Crowe & Dunlevy                          OCP Tier 3           90                              90
                   Dannemann Siemsen Advogados              OCP Tier 2          315                                      267       48
                   Dannemann Siemsen Bigler & Ipanema MOCP Tier 2
                   Davidson, Davidson & Kappel, LLC         OCP Tier 2        5,811    1,000                    781      160             1,320     2,550
                   Davis, Hatley, Haffeman & Tighe, P.C.    OCP Tier 3
                   DeHay & Elliston LLP                     OCP Tier 3
                   Dentons US LLP                           OCP Tier 2       17,983                 2,190     1,203      554   10,540    2,761       735
                   Dinse, Knapp & McAndrew                  OCP Tier 3
                   DLA Piper LLP                            OCP Tier 3          321                              51      270
                   Dorsey & Whitney LLP                     OCP Tier 2        4,109                   250               -241                       2,400     1,700
                   Duke Scanlan                             OCP Tier 3            2                                        2
                   Durbin, Larimore & Bialick, PC           OCP Tier 2
                   Essex Court Chambers (John Lockey)       OCP Tier 2
                   Evans Fears & Schuttert LLP              OCP Tier 3           27                                                                             27
                   Fox, O'Neill & Shannon S.C.              OCP Tier 3
                   Frazer Greene Upchurch & Baker, LLC      OCP Tier 3            5                                                          5
                   Frost Brown Todd LLC                     OCP Tier 3
                   German, Gallagher & Murtagh, P.C.        OCP Tier 3
                   Gibson Dunn & Crutcher LLP               OCP Tier 2
                   Gordon Arata Montgomery Barnett          OCP Tier 3           83                              60       23
                   Gunderson, Palmer, Nelson, Ashmore LLPOCP Tier 3
                   Hepler Broom LLC                         OCP Tier 3
                   Hinckley, Allen & Snyder LLP             OCP Tier 2
                   Hirst Applegate, LLP                     OCP Tier 3
                   Holland & Hart                           OCP Tier 3
                   Hood Law Firm                            OCP Tier 3
                   Husch Blackwell LLP                      OCP Tier 2
                   Jackson Lewis P.C.                       OCP Tier 2
                   Karr Tuttle Campbell                     OCP Tier 3           13                                       13
                   Kleinfeld Kaplan and Becker LLP          OCP Tier 2        1,329      575          227       204                        323
                   Larson & O'Brien                         OCP Tier 3
                   Leason Ellis LLP                         OCP Tier 2        2,000                 1,400                         600
                   Lewis Johs Avallone Aviles, LLP          OCP Tier 3
                   London Court of International ArbitrationOCP Tier 2
                   Lowenstein Sandler LLP                   OCP Tier 2      133,705    3,503        8,465    46,301   51,656    7,682    1,321     5,828     8,949
                   Lynch & Pine                             OCP Tier 2
                   Lynn Pinker Cox & Hurst, LLP             OCP Tier 1        9,253    2,065       3,408         42             3,738
                   Maiwald                                  OCP Tier 1      226,644   16,665      18,422     23,793   25,866   28,665   22,630    46,867    43,735
                   McCarter & English                       OCP Tier 2        3,600                                                                3,600
                   McCorriston Miller Mukai Mackinnon LLP OCP Tier 3
                   McDonald Veon P.A.                       OCP Tier 3
                   McGuire Woods, LLP                       OCP Tier 1       28,252    3,568        9,166     4,954    3,052    7,512
                   Meltzer, Purtill & Stelle, LLC           OCP Tier 2
                   Mitchell, Williams, Selig, Gates & WoodyaOCP Tier 3
                   Montgomery & Andrews, PA                 OCP Tier 3
                   Morris Nichols Arsht and Tunnell LLP     OCP Tier 2           95       39                     15       41
                   Morrison & Foerster LLP                  OCP Tier 3




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                             19-23649-shl Doc 1207-1 Filed 06/01/20 Entered 06/01/20 17:42:35                                                    Ordinary
In re: PURDUE PHARMA L.P., et al.                OCP Payment Report - Monthly Expenses Incurred                                                              Case No.: 19-23649 (RDD)
                                         Course Professional Tracking    Status April 2020 Pg 6 of 6
                                                                  April 2020

                   Name                                        Tier      Case Total   Sep-19      Oct-19     Nov-19   Dec-19   Jan-20   Feb-20    Mar-20    Apr-20

                   Mourant Ozannes                          OCP Tier 2
                   Neal & Harwell                           OCP Tier 3           60                                       60
                   Nelson Mullins Riley & Scarborough LLP   OCP Tier 3
                   Nixon Peabody                            OCP Tier 3
                   Nyemaster Goode                          OCP Tier 3
                   Oliverio & Marcaccio LLP                 OCP Tier 3           13                               6        6        1
                   O'Melveny & Myers LLP                    OCP Tier 3
                   O'Neill & Borges                         OCP Tier 2
                   Patrick J. Rogers LLC                    OCP Tier 2
                   Penn Stuart & Eskridge                   OCP Tier 3
                   Porzio Bromberg & Newman P.C             OCP Tier 2
                   Poyner Spruill LLP                       OCP Tier 2          306      160          125                          22
                   Pryor Cashman LLP                        OCP Tier 2       31,937    7,076        2,508     6,437    5,335    2,159    2,382     3,380     2,660
                   Reed Smith, LLP                          OCP Tier 1          117       63         -319        31      106      116       31        60        30
                   Reichard & Escalera LLC                  OCP Tier 3
                   Reilly, McDevitt & Henrich, P.C.         OCP Tier 3           68                              68
                   Reminger Co., L.P.A.                     OCP Tier 2
                   Richmond & Quinn                         OCP Tier 3
                   Robinson Gray Stepp & Laffitte, LLC      OCP Tier 3
                   Sanders Warren Russell & Scheer LLP      OCP Tier 3
                   Semmes Bowen & Semmes                    OCP Tier 3
                   Shaw Keller LLP                          OCP Tier 3
                   Sidley Austin, LLP                       OCP Tier 1        3,605       13           16     2,291      106                 2     1,177
                   Skarzynski Black                         OCP Tier 2        4,398    1,321        1,858              1,051       23      146
                   Smith Anderson                           OCP Tier 2          252                                               252
                   Snell & Wilmer                           OCP Tier 3
                   Steptoe & Johnson, LLP                   OCP Tier 2
                   Sterne Kessler Goldstein Fox PLLC        OCP Tier 2       13,558                 4,360       160    1,350    1,300       51     6,337
                   Stikeman Elliott, LLP                    OCP Tier 1        6,721      895          721                504    3,833      768
                   Stites & Harbison, PLLC                  OCP Tier 2
                   Taylor English Duma LLP                  OCP Tier 3          200                                      200
                   Thompson Coburn, LLP                     OCP Tier 3
                   Thompson Hine                            OCP Tier 2
                   Tonkon Torp LLP                          OCP Tier 2
                   Troutman Sanders LLP                     OCP Tier 2
                   Vogel Law Firm, Ltd.                     OCP Tier 3
                   Vorys Sater Seymour & Pease              OCP Tier 3
                   Wheeler Trigg O'Donnell LLP              OCP Tier 3
                   Wiggin and Dana, LLP                     OCP Tier 1      106,475    8,234           40    47,310            16,720       23        17    34,131




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